  
 

Case 2:04-cr-20140-.]PI\/| Document 181 Filed 06/09/05 Page 1 of 3 Page|D 250

UNITED sTATEs DISTRICT COURT F ,_ n nl
WESTERN DIsTRICT oF TENNESSEE 13 usa -9 Plt h= 09
Western Division

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UNITED STATES OF AMERICA
-vs- Case No. 2:04cr20140-6-Ml

NICHOLAS MARTIN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING’ PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
TUESDAY, .]UNE 14, 2005 at 2230 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing

Date: June9, 2005 l ` 1 §§

T`U M. PHAM
uNITED sTATEs MAGISTRATE JUDGE

 

'lf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142({`){2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1°) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B.'BE) Order of Temporary Detenlion

Thls document entered on the docket sheet ln compliance
ruth Rule 55 and/or 32{10) FRCrP on ___.

   

UNITED `sATEs DISTRIC COURT - WESTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l8l in
case 2:04-CR-20140 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable .l on McCalla
US DISTRICT COURT

